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  May 17, 2024
  Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, NJ 08608

  Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and
            Products Liability Litigation
            Case No.: 3:16-md-02738-MAS-RLS


  Dear Judge Singh,

          Defendants Johnson & Johnson and LLT Management LLC (hereafter,
  “Defendants”) write pursuant to Local Rule 37.1(a)(1) to request leave to file a motion to
  be heard on short notice for an order pursuant to FRCP 34(a)(2) compelling Plaintiffs’
  expert Dr. William Longo to make his laboratory available for inspection. This inspection,
  which was first requested on April 18, 2024 is time sensitive in light of the upcoming
  deadlines for Rule 702 motion briefing. As set forth in more detail below, the inspection
  is necessary because Dr. Longo claims that viewing the particles in his microscope in real
  time is necessary to ascertain whether a particle is talc or asbestos. The parties have met
  and conferred and are unable to resolve this dispute without the assistance of the Court.

                                      INTRODUCTION

          Dr. Longo is one of Plaintiffs’ testing experts, and a testifying expert in the
  bellwether cases. Dr. Longo tested bottles of Johnson’s Baby Powder and claims he
  found asbestos in the bottles—a key issue in the cases pending in this MDL and one that
  will be a central focus of certain Daubert motions.

         In connection with the first round of Daubert rulings in this MDL regarding Dr.
  Longo’s talc testing, the Court concluded that “Dr. Longo’s PLM [polarized light
  microscopy] methodology is unreliable because it was replete with subjectivity and
  reproducibility problems.” In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales
  Pracs. & Prods. Litig., 509 F. Supp. 3d 116, 155 (D.N.J. 2020).

         In order to sidestep this decision, Dr. Longo now uses a new PLM method, but his
  new method even worse on the very same grounds than the prior one. Dr. Longo now
  claims to find “chrysotile” asbestos using PLM in nearly 100% of bottles of cosmetic talc
  he tests, regardless of mine source or manufacturer. But even another plaintiffs-side
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  expert in cosmetic talc litigation agrees that what is really going on is that Dr. Longo is
  simply finding talc in the talc—and calling it chrysotile.

          Defendants request an inspection of Dr. Longo’s lab so that defense experts and
  Dr. Longo can look at the same particles at the same time and under the same
  microscope. The critical issue relevant to this request is Dr. Longo’s insistence that only
  he and his analysts, using their equipment in their own lab (MAS), can undertake his new
  method and reach the conclusions he reaches. Dr. Longo has repeatedly and adamantly
  avoided questions regarding his testing methods and results based on the imaging that
  he has produced in reports and at deposition by claiming he would have to be physically
  at an MAS microscope looking at a particle in real time in order to explain the basis for
  his opinions. As one of many examples, when asked to identify a particle in his report, he
  testified: “I'd have to be looking in the microscope at it to tell you what that is.” Ex.
  L, Longo Valadez Dep. 55:17-56:14. Defendants’ request is therefore time sensitive
  because it concerns the reliability of Dr. Longo’s testing method—which is at the heart of
  the upcoming Rule 702 briefing.

         Since Dr. Longo claims that viewing the particles in his microscope live is
  necessary to ascertain whether a particle is talc or asbestos, Defendants request an order
  permitting an inspection of Dr. Longo’s lab. Specifically, Defendants request an
  opportunity for defense experts to observe the lab’s analysis in real time, so they can
  make contemporaneous observation of the same samples on the same PLM equipment
  used by MAS.

                                       BACKGROUND

          Plaintiffs’ expert Dr. Longo is the President and a 75% owner of his lab Material
  Analytical Services, LLC (“MAS”). 95% of the time that he is in court, Dr. Longo is
  testifying for plaintiffs’ attorneys in asbestos litigation. Ex. A, Longo 2/7/19 Leavitt Tr.
  178:20-23.

         Courts have excluded Dr. Longo’s opinions on numerous occasions. In some
  instances, they have called his work “junk science” and “pseudo-science at best.” Ex. B,
  In re Lamar Cty. Order (Tx. Dist. Ct. July 5, 2001) at 1; In re Garlock Sealing Techs., LLC,
  504 B.R. 71, 80 (Bankr. W.D.N.C. 2014). One court elaborated: “Re-reading Dr. Longo’s
  testimony reveals it to be practiced and to employ misdirection and evasiveness. It is at
  best disingenuous, not credible and unsupported by any respectable community of
  scientists.” Ex. B, In re Lamar Cty. Order (Tx. Dist. Ct. July 5, 2001) at 12.

         Dr. Longo began testing talc for asbestos for purposes of cosmetic talc litigation in
  late 2016. Ex. C, Longo 9/4/2019 Cabibi Tr. 2759:14-19. For years, he never found a type
  of asbestos known as chrysotile in cosmetic talc. See Ex. D, Longo Rimondi Tr. 140:14-
  141:8. Then in 2020, Dr. Longo began using a new method using polarized light
  microscopy (known as “PLM”)—despite testifying at least as of January 2019 that he had
  never “personally analyzed a [talc] sample for the presence of asbestos using PLM.” Ex.

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  E, Longo Young Dep. 85:18-20. As he put it then, “I don’t do PLM analysis.” Id. at 86:5-
  6.

         He now claims to find chrysotile using PLM in nearly 100% of cosmetic talc bottles
  he tests. Ex. F, Longo Forrest Dep. 138:9-18. He says that “[a]ny bottle that was sold in
  North America that used a mine source for cosmetic talc in North America will have some
  level of asbestos in it.” Ex. G, Longo Eagles Dep. (Vol III) 449:12-21.

         As even an expert on the plaintiffs’ side of cosmetic talc litigation explains, the
  reason Dr. Longo is finding “chrysotile” in every talc bottle is because he is misidentifying
  talc as asbestos. In other words, Dr. Longo is simply finding talc in the talc—but calling it
  asbestos. Frequent plaintiffs’ expert Mr. Lee Poye testified: “Q. In your opinion, what do
  those photos that Dr. Longo claims is chrysotile from that -- from his PLM analysis, what
  are those structures? A. The edge of talc plates.” Ex. H, Poye McNeal Dep. 128:20-129:6.

         Under the PLM method that Dr. Longo uses, the mineral type of a particle is
  determined by identifying the color that the particle appears under the microscope after
  coating it in a particular oil. See Ex. F, Longo Forrest Dep. 72:15-17, 75:23-76:9. More
  specifically, PLM analysis performed at MAS relies on analysts correctly identifying the
  specific shade of color seen under the microscope, matching those colors up to a chart,
  and then reporting values that are used to identify whether the microscopic particles
  viewed are asbestos, talc, or some other mineral.

         So for example, the ISO (International Standards Organization) protocols that Dr.
  Longo claims at least in part to follow state that talc in parallel orientation 1 should be a
  pale yellow. Ex. I, ISO 22262-1 at 28; Ex. J, Longo Eagles Dep. (Vol II) 245:5-17.
  Chrysotile asbestos, by contrast, should appear purple in parallel, though colors can
  range from deep orange to blue. Below is an image of a sample particle and the color
  range for chrysotile in parallel from the ISO protocols:




  1
   Particles are evaluated by PLM in both a "parallel" and "perpendicular" orientation, with
  each producing a different color.
                                               3
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                                                                   Chrysotile
                                                                   (Parallel)




  Ex. I, ISO 22262-1 at 41-43.

         In order to call particles “chrysotile,” Dr. Longo’s lab incorrectly reports the colors
  of the particles. Take for example this particle below: 2




  2
     Dr. Longo’s analyst reports a numerical “refractive index” or “R.I.” for the color of the
  particle he claims to see. Those indices correspond to particular colors. Dr. Longo’s report
  lists this particle as R.I. 1.564, which corresponds to purple. Ex. K, Longo Valadez Report
  at 33.
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  Ex. K, Longo Valadez Report at 33.

        Dr. Longo admitted that particle is “brownish gold” Ex. J, Longo Eagles (Vol. II)
  Dep 263:5-18. However, he treats that particle as purple for purposes of his analysis. Ex.
  G, Longo Eagles Dep. (Vol III) at 308:4-309:7.

         Additionally, for much of Dr. Longo’s PLM testing for chrysotile, he claimed he was
  using a microscope that had a tungsten lightbulb which emitted a yellow-hued light. Ex.
  L, Longo Valadez Dep. 30:9-31:3. The colors of the particles in that testing—the key
  component of identifying the mineral—were therefore distorted. See id.

         Most critically, as discussed in more detail below, Dr. Longo has repeatedly
  dodged questions regarding his findings on the basis that he would need to be sitting live
  at the microscope to accurately confirm the aspects of the particles that would determine
  whether those particles are talc or asbestos.

         To avoid this never ending dodge by Dr. Longo and bring these issues of what
  color he is seeing to a head, Defendants served an Updated Notice of Oral and
  Videotaped Deposition of Dr. Longo, which included a Notice of Inspection pursuant to
  Fed. R. Civ. P. 34(a)(2) on April 18, 2024. See Ex. M. This would allow defense experts
  to view the same particles that Dr. Longo is viewing in real time. Plaintiffs objected. Ex.
  N. The parties met and conferred but were unable to reach agreement. Defendants now
  request on order requiring Dr. Longo to make his laboratory available for inspection.

                                    LEGAL STANDARD

          Federal Rule of Civil Procedure 34(a)(2) permits a party to serve a request “within
  the scope of Rule 26(b)” to “permit entry onto designated land or other property” to order
  to “inspect, measure, survey, photograph, test, or sample the property or any designated
  object or operation on it.”
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         A Rule 34(a) request to inspect “poses a very low hurdle E.E.O.C. v. Supervalu,
  Inc., 2010 WL 5071196, at *10 (N.D. Ill. Dec. 7, 2010) (internal citations and quotation
  marks omitted). The rule itself “requires only that such a request seek information ‘within
  the scope of Rule 26(b).’” Id. Rule 26(b), of course, permits “discovery regarding any
  nonprivileged matter that is relevant to any party's claim or defense and proportional to
  the needs of the case.” A “a showing of need” is accordingly not necessary. Cuno Inc. v.
  Pall Corp., 116 F.R.D. 279, 281 (E.D.N.Y. 1987).

         Some courts have said that they use “ ‘reasonableness’ as a guidepost” for Rule
  34 requests to inspect. See Nat'l Mfg. Co. v. Janed Enterprises, Inc., 2013 WL 12470870,
  at *2 (D.N.J. July 3, 2013) (granting in part request for inspection) (internal citations
  omitted).

                                         ARGUMENT

          Defendants’ request to inspect Dr. Longo’s lab is relevant and proportional to the
  needs of the case. Dr. Longo now claims to find chrysotile asbestos in nearly every single
  bottle of cosmetic talc he tests using method that depends on the color a particle appears.

         But he has repeatedly avoiding answering questions about the bases for his testing
  results by stating that he would have to be physically sitting at the microscope looking at
  a particle live to understand how he was purporting to identify chrysotile. For example:

     •   When asked to identify a particle in his report, Dr. Longo testified, “I'd have to be
         looking in the microscope at it to tell you what that is” and then said again:
         “I’d have to be looking in the PLM scope to make a guess.” Ex. L, Longo
         Valadez Dep. 55:17-56:14.

     •   When pressed on whether that particle was talc, he stuck to his same response:
         “Again, I'd have to be looking in the microscope to make any decision on
         what that might be.” Id. at 56:15-18.

     •   When asked why he was identifying a so-called chrysotile particle as “magenta”
         when it was clearly not magenta, Dr. Longo stated as part of his answer that he
         would “have to be under the microscope to look at it.” Id. at 61:5-62:3.

     •   When asked whether he as treating a different yellow “chrysotile” particle as purple
         for purposes of his analysis he said: “I’d have to be sitting at the PLM scope.”
         Id. at 64:13-20.

     •   When asked if his lab was reporting yet another “chrysotile” particle as closer to
         the purple end of the light spectrum than a prior particle, Dr. Longo testified: “I’m
         not looking in a microscope. I can't answer it anymore and help you out
         here.” Id. at 67:2-17.


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     •   When asked whether he could identify numerically (by the wavelength of light per
         the methodology Dr. Longo claims to follow) the color on specific area of the
         particle Dr. Longo claimed was relevant, he testified: “No. In order for me to do
         that, I would have to be sitting at the microscope, in focus, out of focus, and
         look at that.” Id. at 78:13-79:9.

     •   When asked what the refractive index of talc particles are, he again testified; “I'd
         need to be looking in the microscope.” Id. at 39:17-40:14.

      It is therefore critical to Defendants’ defense of these cases and Rule 702 analysis for
  a defense expert to view the same particles as Dr. Longo at the same time in the same
  lab and on the same equipment so that there can be no dispute about what the particles
  truly look like.

          Additionally, to try to explain why he was reporting yellow particles as purple, Dr.
  Longo claims that he is relying on the color that appears just on the edges of the particles.
  However, Dr. Longo admitted that that those edge colors could simply be an artifact of
  his images, for example if the “focus is off”: “[E]very particle has some of the red around
  it. And I don’t know if that’s just an artifact or not.” Ex. J, Longo Eagles Dep. (Vol. II)
  256:21-257:11. Accordingly, the only way to determine the true color of the area of the
  particle Dr. Longo is relying on is to look live through a microscope, not at the produced
  images.

        Indeed, the same red/purple edges Dr. Longo relies on to identify particles as
  chrysotile can routinely be seen around particles that even Dr. Longo acknowledges are
  talc:




  See Ex. K, Longo Valadez Rpt. at 33, 34, 38, 39.


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         Dr. Longo has previously testified that a different method—transmission electron
  microscopy or “TEM”—is the best way to accurately identify chrysotile in talc. See Ex. O,
  Longo Kerkhof Dep. 187:19-188:17. Yet Dr. Longo has refused to test the validity of his
  PLM work by using TEM, which if faithfully applied could conclusively determine whether
  the particles at issue are talc or asbestos. Ex. P, Longo Clark Dep. (Vol. II) 206:7-11.

         Defendants’ request is also necessary and reasonable because they cannot
  replicate Dr. Longo’s PLM method. First, the slides with the samples that MAS looks at
  under the microscope degrade in relatively short order. Ex. Q, 3/15/23 Valadez CMC Tr.
  at 54:5-6. For example, Defendants requested Dr. Longo’s slides in the Valadez case in
  California state court days after Dr. Longo issued his report in that case. Ex. R, 3/9/23
  Letter. But Defendants were later informed those slides were no longer usable at that
  time. Ex. S, 3/23/23 CMC Tr. at 55:15-21. In other words, the only way for defense experts
  to look at the same particles MAS is looking at in the same way is to view them live under
  the microscope at the same time as Dr. Longo.

         Second, Dr. Longo’s methodology cannot be replicated because it is constantly in
  flux. See Ex. P, Longo Clark Dep. 197:24-227:15. He has invented his own PLM method
  that has never been subject to peer review. Ex. F, Longo Forrest Dep. 126:10-13; see
  also id. at 59:6-17. In February 2020, Dr. Longo testified before the FDA that he had
  “cracked the code” for testing talc for chrysotile. Ex. T, Longo 2/4/20 FDA Tr. 176:19-
  177:5. Part of that method at the time involved using an iodine solution to stain the
  samples, claiming to follow a 1974 preparation protocol from the Colorado School of
  Mines. Ex. U, Longo Zimmerman Dep. 191:22-192:8, 192:20-23. But he later admitted
  “We’re not using iodine anymore” because “[t]hat did not work.” Ex. F, Longo Forrest Dep.
  59:9-12.

          Other parts of the method have changed over time as well. For example, the type
  of oil used to coat the sample has changed, which affects the color the particle appears.
  See, e.g., Ex. P, Longo Clark Dep. (Vol. II) 209:21-23, 221:15-17 (1.550 oil vs. 1.560 oil).
  Which part of the sample is used for the testing has changed. See, e.g. id. at 208:5-8,
  209:12-14 (heavy fraction vs. light fraction). The approach to using a centrifuge has also
  changed. See, e.g. id. at 199:24-200:3, 217:19-25 (500 RPM and 1800 RPM for 10
  minutes each at room temperature vs. vigorous shaking for 10-20 seconds followed by
  2,000 RPM for 72 hours at 15°C).

         Dr. Longo even testified in his May 2, 2024 deposition in this MDL that for his PLM
  testing, he hasn’t “finished the standard operating procedures because we keep doing
  research and changing slight – slight conditions.” Ex. V, Longo MDL Dep. (Vol. I) 47:6-
  13. He even testified that his PLM methodology is not ready to be published in a peer-
  reviewed journal. Id. at 118:5-119:7. And he disagreed that “submitting [his] methods to
  the scrutiny of the larger scientific community is a component of good science.” Id. at
  124:16-24.

        Defense experts need to visit Dr. Longo’s lab to see the particles Dr. Longo claims
  are asbestos at the same time he is looking at them. This way, the defense can respond
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  to Dr. Longo’s deflections that one would need to be live at the microscope to answer
  critical questions about those particles. An inspection would allow the defense to evaluate
  the particles without potential distortions or “artifacts” resulting from the still images taken
  of the particles. And it would permit defense experts to view the particles under the exact
  same lighting conditions MAS is using in its lab and with Dr. Longo’s own sample
  preparation method. Nor would an inspection pose any undue burden on Plaintiffs or
  MAS.

         In short, since Dr. Longo testifies differentiating between talc and chrysotile
  asbestos requires him to be sitting at his microscope live, then the defense deserves an
  opportunity to examine those supposed chrysotile particles live in that same manner. By
  Dr. Longo’s own admission, the still images he produces are not sufficient to understand
  the bases for his opinion. See L.G. Philips v. Tatung Co. of America, 2005 WL 8157808,
  at *2 (C.D. Cal. Jan. 11, 2005) (“Irrespective of whether documents produced already
  contain a written description detailing the manufacturing process, viewing defendant's
  manufacturing process is clearly relevant or, at a minimum, reasonably calculated to lead
  to the discovery of admissible evidence”) (internal citation omitted); see also id. (“[T]he
  mere fact that defendant CPT has already produced thousands of pages of documents in
  discovery does not establish that plaintiffs are already in possession of the same
  information that they would obtain from the plant inspections.”).

                                         CONCLUSION

         Defendants request that the following be made available for inspection:

         1.     All PLM microscopes used by MAS at 3945 Lakefield Ct, Suwanee, GA
                30024 for its analysis of the materials referenced in Defendants’ requests
                for production 20-24 (attached hereto as Exhibit M at 10-12);

         2.     MAS’s methodology for preparing the materials referenced in Defendants’
                requests for production 20-24 (Ex. M at 10-12) for subsequent analysis by
                PLM for the identification of “chrysotile,” including but not limited to
                observing in real time the preparation of one or more samples of Johnsons
                Baby Powder performed by MAS; and

         3.     MAS’s methodology for analyzing the materials referenced in Defendants’
                requests for production 20-24 (Ex. M at 10-12) for analysis by PLM for the
                identification of “chrysotile,” including but not limited to observing in real time
                the analyses performed by MAS on the samples of Johnsons Baby Powder,
                as well as Defendants’ experts undertaking real time, contemporaneous
                observation of the samples on the same PLM equipment used by MAS in
                which MAS has previously reported, and may during the inspection report,
                observing “chrysotile.”




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                                       Respectfully,

                                       /s/ Susan M. Sharko
                                       Susan M. Sharko
                                       FAEGRE DRINKER BIDDLE &
                                       REATH LLP

Encl: (Exhibits A-V)
Cc: All counsel of record (via ECF)




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